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6
                               UNITED STATES DISTRICT COURT
7                           WESTERN DISTRICT OF WASHINGTON
                                            AT SEATTLE
8

     OSA SOCCER ACADEMY,LLC,
9


10                          Plaintiff,                       NO.

11           V.                                              COMPLAINT AND DEMAND FOR
                                                             JURY TRIAL
12
     COLLEGE LIFE ITALIA,SOCCER
13   MANAGEMENT INSTITUTE,STEFANO
     RADIO,and GIORGIO ANTONGIROLAMI,
14

                         Defendants.
15


16
            COMES NOW the Plaintiff, OSA SOCCER ACADEMY,LLC,("OSA")by and

17   through its undersigned attorney, sues the Defendants, COLLEGE LIFE ITALIA ("CLI"),

18
     SOCCER MANAGEMENT INSTITUTE("SMI"), STEFANO RADIO ("Radio"), and
19
     GIORGIO ANTONGIROLAMI("Antongirolami"), and in support thereof states as follows:
20

                                  PRELIMINARY STATEMENT
21

            1.      Plaintifffiles this action to combat the willful violation ofits trade secret
22


23   rights, for violations ofthe Lanham Act through unfair competition, for tortious interference

24   with third-party business relations, fraud, unjust enrichment, and conversion.
25




                                                                                         H ELSELL
                                                                                     FETTERMAN

                                                                                    Helsell Fetterman LLP
     COMPLAINT -1                                                               1001 Fourth Avenue, Suite 4200
                                                                                   Seattle, WA 98154-1154
                                                                              206.292.1144 WWW.HELSELLCOM
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